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                 In the United States Court of Federal Claims
                                    OFFICE OF SPECIAL MASTERS
                                        Filed: September 15, 2020

* * * * * * * * * *                           *   *    *
MIDLAND TRUST COMPANY,                                 *
Guardian of the property of                            *
M.S.M., a minor,                                       *        UNPUBLISHED
                                                       *
                  Petitioner,                          *        No. 14-1186V
                                                       *
v.                                                     *        Special Master Gowen
                                                       *
SECRETARY OF HEALTH                                    *        Damages; Off-Table Injury; Diphtheria-
AND HUMAN SERVICES,                                    *        Tetanus-acellular Pertussis (DTaP);
                                                       *        Haemophilus Influenzae Type B (Hib);
                  Respondent.                          *        Inactivated Polio (IPV); Pneumococcal
                                                       *        Conjugate (PCV); Hepatitis B (Hep B);
                                                       *        Rotavirus; Febrile Status Epilepticus;
                                                       *        Encephalopathy; Challenge-Rechallenge;
*    * *     *    *    *   *    *   *    *    *   *    *        Absence of SCN1A Mutation.

Renee J. Gentry, The Law Office of Renee J. Gentry, Washington, DC, for petitioner.1
Christine M. Becer, United States Department of Justice, Washington, DC, for respondent.

                                        DECISION ON DAMAGES2

       On December 10, 2014, a petition was filed on behalf of M.S.M., a minor, under the
National Vaccine Injury Compensation Program.3 Petition (ECF No. 1). On March 11, 2013, at
approximately six months old, M.S.M. received vaccinations for diphtheria-tetanus-acellular

1
 Ms. Gentry was substituted for attorney Cliff Shoemaker while this claim was in the damages phase. Petitioner’s
Consented Motion to Substitute Attorney filed October 24, 2019 (ECF No. 142).
2
  Pursuant to the E-Government Act of 2002, see 44 U.S.C. § 3501 note (2012), because this opinion contains a
reasoned explanation for the action in this case, I am required to post it on the website of the United States Court of
Federal Claims. The court’s website is at http://www.uscfc.uscourts.gov/aggregator/sources/7. This means the
opinion will be available to anyone with access to the Internet. Before the opinion is posted on the court’s
website, each party has 14 days to file a motion requesting redaction “of any information furnished by that party:
(1) that is a trade secret or commercial or financial in substance and is privileged or confidential; or (2) that
includes medical files or similar files, the disclosure of which would constitute a clearly unwarranted invasion of
privacy.” Vaccine Rule 18(b). An objecting party must provide the court with a proposed redacted version of the
opinion. Id. If neither party files a motion for redaction within 14 days, the opinion will be posted on the
court’s website without any changes. Id.

3
  The National Vaccine Injury Compensation Program is set forth in Part 2 of the National Childhood Vaccine
Injury Act of 1986, Pub. L. No. 99-660, 100 Stat. 3755, codified as amended, 42 U.S.C. §§ 300aa-1 to 34 (2012)
(“Vaccine Act” or “the Act”). Hereinafter, individual section references will be to 42 U.S.C. § 300aa of the Act.
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pertussis (“DTaP”), haemophilus influenza type B (“Hib”); inactivated polio (“IPV”);
pneumococcal conjugate (“PCV”); hepatitis B (“hep B”); and rotavirus. The petition and
subsequent filings alleged that these vaccines caused an acquired epileptic encephalopathy.
Petition; see also Petitioner’s (“Pet.”) Pre-Hearing Brief (ECF No. 82) at 19, 29; Pet. Post-
Hearing Brief (ECF No. 123) at 55. Respondent recommended against compensation.
Respondent’s Report filed February 26, 2016 (ECF No. 41). Each party submitted expert reports
and an entitlement hearing was held on October 2 – 3, 2017. Transcript (ECF Nos. 118, 120).
Following the submission of post-hearing briefs, I issued a ruling concluding that the petitioner,
on behalf of M.S.M., was entitled to compensation based on a showing of causation-in-fact.
Ruling on Entitlement filed July 30, 2019 (ECF No. 131).

       Midland Trust Company (“petitioner”) has been appointed as the guardian of the property
of M.S.M.’s estate and has been recognized in that capacity to be the petitioner in this claim. See
Pet. Ex. 127, filed February 23, 2020 (ECF No. 148-2); Pet. Mot. to Amend Case Caption filed
August 3, 2020 (ECF No. 161), granted by Order entered August 5, 2020 (ECF No. 164).

        On September 14, 2020, respondent filed a proffer on an award of compensation, which
indicates petitioner’s agreement to compensation on the terms set forth therein. Proffer (ECF
No. 166). The proffer is attached hereto as Appendix A.

        Consistent with the terms of the proffer, I hereby award the following compensation
for all damages that would be available under 42 U.S.C. § 300aa-15(a):

       A. A lump sum payment of $1,239,414.94, representing compensation for life care
          plan expenses in the first year after judgment ($57,776.86), lost future earnings
          ($931,638.08), and pain and suffering ($250,000.00), in the form of a check
          payable to Midland Trust Company, guardian of the property of M.S.M., a
          minor, for the benefit of M.S.M.

       B. A lump sum payment of $32,036.18, representing compensation for satisfaction
          of an Amerigroup Community Care Medicaid lien, payable jointly to petitioner
          and Optum Subrogation Services, and mailed to:

                                      Optum Subgrogation Services
                                                L-3994
                                       Columbus, OH 43260-3994
                                       Optum File #: SN11675627
                                         Tax ID #: XX-XXXXXXX
                                         Attn: Veronica Butler

           Petitioner agrees to endorse this payment to Optum Subrogation Services.

       C. An amount sufficient to purchase the annuity contract, subject to the conditions
          described in the proffer.




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       Accordingly, the Clerk of Court SHALL ENTER JUDGMENT in accordance with the
terms of the proffer and this decision.4

        IT IS SO ORDERED.
                                                                       s/Thomas L. Gowen
                                                                       Thomas L. Gowen
                                                                       Special Master




4
 Entry of judgment is expedited by each party’s filing notice renouncing the right to seek review. Vaccine Rule
11(a).


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               IN THE UNITED STATES COURT OF FEDERAL CLAIMS
                             OFFICE OF SPECIAL MASTERS
__________________________________________
                                             )
MIDLAND TRUST COMPANY,                       )
Guardian of the property of                  )
M.S.M., a minor,                             )
                                             )
                     Petitioner,             )
                                             )
      v.                                     )   No. 14-1186V
                                             )   Special Master Gowen
SECRETARY OF THE DEPARTMENT OF               )
HEALTH AND HUMAN SERVICES,                   )
                                             )
                     Respondent.             )
__________________________________________)

                RESPONDENT'S PROFFER ON AWARD OF COMPENSATION

         In his Ruling on Entitlement issued on July 30, 2019, Special Master Gowen found that a

preponderance of the evidence supported petitioner’s claim that the diphtheria-tetanus-acellular

pertussis, haemophilus influenza type B; inactivated polio; pneumococcal conjugate; hepatitis B;

and rotavirus vaccines administered to M.S.M. on March 11, 2013, and December 26, 2013,

caused an encephalopathy which is responsible for sequelae including her developmental delay

and continued seizure activity. See Ruling on Entitlement (Document 131, filed on July 30,

2019). Respondent now proffers the following regarding the amount of compensation to be

awarded. 1

I.       Items of Compensation


         1
           The parties have no objection to the amount of the proffered award of damages. However, respondent
reserves his right, pursuant to 42 U.S.C. § 300aa-12(f), to seek review of the special master’s July 30, 2019 ruling on
entitlement, finding petitioner entitled to an award under the Vaccine Act. This right accrues following issuance of
the damages decision.




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          A.     Life Care Items

          The respondent engaged life care planner, M. Virginia Walton, M.S.N., RN, FNP, CLCP,

and petitioner engaged Nancy Bond, M.Ed., CCM, CLCP, to provide an estimation of M.S.M.’s

future vaccine-injury related needs. For the purposes of this proffer, the term “vaccine related”

is as described in the Special Master’s Ruling on Entitlement. All items of compensation

identified in the life care plan are supported by the evidence, and are illustrated by the chart

entitled Appendix A: Items of Compensation for M.S.M., attached hereto as Tab A. 2 Petitioner

agrees.

          B.     Lost Future Earnings

          The parties agree that based upon the evidence of record, M.S.M. will not be gainfully

employed in the future. Therefore, respondent proffers that M.S.M. should be awarded lost

future earnings as provided under the Vaccine Act, 42 U.S.C. § 300aa-15(a)(3)(B). Respondent

proffers that the appropriate award for M.S.M.'s lost future earnings is $931,638.08. Petitioner

agrees.

          C.     Pain and Suffering

          Respondent proffers that M.S.M. should be awarded $250,000.00 in actual pain and

suffering. See 42 U.S.C. § 300aa-15(a)(4). Petitioner agrees.

          D.     Medicaid Lien

          Respondent proffers that M.S.M. should be awarded funds to satisfy an Amerigroup

Community Care Medicaid lien in the amount of $32,036.18, which represents full satisfaction




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of any right of subrogation, assignment, claim, lien, or cause of action Amerigroup Community

Care may have against any individual as a result of any Medicaid payments Amerigroup

Community Care has made to or on behalf of M.S.M. from the date of her eligibility for benefits

through the date of judgment in this case as a result of her vaccine-related injury suffered on or

about March 11, 2013, under Title XIX of the Social Security Act.

II.      Form of the Award

         The parties recommend that the compensation provided to M.S.M. should be made

through a combination of lump sum payments and future annuity payments as described below,

and request that the Special Master's decision and the Court's judgment award the following: 3

         A. A lump sum payment of $1,239,414.94, representing compensation for life care

expenses in the first year after judgment ($57,776.86), lost future earnings ($931,638.08), and

pain and suffering ($250,000.00), in the form of a check payable to Midland Trust Company,

guardian of the property of M.S.M., a minor, for the benefit of M.S.M.

         B. A lump sum payment of $32,036.18, representing compensation for satisfaction of an

Amerigroup Community Care Medicaid lien, payable jointly to petitioner and Optum

Subrogation Services, and mailed to:

                                         Optum Subrogation Services
                                                 L-3994
                                         Columbus, OH 43260-3994

         2
           The chart at Tab A illustrates the annual benefits provided by the life care plan. The annual benefit years
run from the date of judgment up to the first anniversary of the date of judgment, and every year thereafter up to the
anniversary of the date of judgment.

         3  Should M.S.M. die prior to entry of judgment, the parties reserve the right to move the Court for
appropriate relief. In particular, respondent would oppose any award for future medical expenses, lost future
earnings, and future pain and suffering.




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                                          Optum File #: SN11675627
                                            Tax ID #: XX-XXXXXXX
                                            Attn: Veronica Butler

Petitioner agrees to endorse this payment to Optum Subrogation Services.

         C. An amount sufficient to purchase the annuity contract, 4 subject to the conditions

described below, that will provide payments for the life care items contained in the life care plan,

as illustrated by the chart at Tab A attached hereto, paid to the life insurance company 5 from

which the annuity will be purchased. 6 Compensation for Year Two (beginning on the first

anniversary of the date of judgment) and all subsequent years shall be provided through

respondent's purchase of an annuity, which annuity shall make payments directly to petitioner

only so long as M.S.M. is alive at the time a particular payment is due. At the Secretary's sole

discretion, the periodic payments may be provided to petitioner in monthly, quarterly, annual or

other installments. The "annual amounts" set forth in the chart at Tab A describe only the total




         4
           In respondent’s discretion, respondent may purchase one or more annuity contracts from one or more life
insurance companies.
         5
          The Life Insurance Company must have a minimum of $250,000,000 capital and surplus, exclusive of
any mandatory security valuation reserve. The Life Insurance Company must have one of the following ratings
from two of the following rating organizations:

                  a. A. M. Best Company: A++, A+, A+g, A+p, A+r, or A+s;

                  b. Moody's Investor Service Claims Paying Rating: Aa3, Aa2, Aa1, or Aaa;

                  c. Standard and Poor's Corporation Insurer Claims-Paying Ability Rating: AA-, AA, AA+, or
                  AAA;

                  d. Fitch Credit Rating Company, Insurance Company Claims Paying Ability Rating: AA-, AA,
                  AA+, or AAA.
         6
           Petitioner authorizes the disclosure of certain documents filed by the petitioner in this case consistent
with the Privacy Act and the routine uses described in the National Vaccine Injury Compensation Program System
of Records, No. 09-15-0056.


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yearly sum to be paid to petitioner and do not require that the payment be made in one annual

installment.

               1.       Growth Rate

       Respondent proffers that a four percent (4%) growth rate should be applied to all non-

medical life care items, and a five percent (5%) growth rate should be applied to all medical life

care items. Thus, the benefits illustrated in the chart at Tab A that are to be paid through annuity

payments should grow as follows: four percent (4%) compounded annually from the date of

judgment for non-medical items, and five percent (5%) compounded annually from the date of

judgment for medical items. Petitioner agrees.

               2.       Life-Contingent Annuity

         The petitioner will continue to receive the annuity payments from the Life Insurance

Company only so long as M.S.M. is alive at the time that a particular payment is due. Written

notice shall be provided to the Secretary of Health and Human Services and the Life Insurance

Company within twenty (20) days of M.S.M.’s death.

               3.       Guardianship

       The petitioner has been appointed the guardian of the property of M.S.M.’s estate. See

Exhibit 127 (Document 148-2, filed on February 23, 2020).

III.   Summary of Recommended Payments Following Judgment

A.     Lump Sum paid to the petitioner.:      $1,239,414.94

B.     Medicaid lien:                         $32,036.18

C.     An amount sufficient to purchase the annuity contract described
       above in section II. C.



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                                   Respectfully submitted,

                                   JEFFREY BOSSERT CLARK
                                   Acting Assistant Attorney General

                                   C. SALVATORE D’ALESSIO
                                   Acting Director
                                   Torts Branch, Civil Division

                                   CATHARINE E. REEVES
                                   Deputy Director
                                   Torts Branch, Civil Division

                                   DARRYL R. WISHARD
                                   Assistant Director
                                   Torts Branch, Civil Division

                                   /s/Christine M. Becer
                                   CHRISTINE M. BECER
                                   Trial Attorney
                                   Torts Branch, Civil Division
                                   U. S. Department of Justice
                                   P.O. Box l46, Benjamin Franklin Station
                                   Washington, D.C. 20044-0146
                                   Direct dial: (202) 616-3665

Dated: September 14, 2020




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                                                           Appendix A: Items of Compensation for M.S.M.                                           Page 1 of 14
                                             Lump Sum
       ITEMS OF                             Compensation   Compensation    Compensation   Compensation   Compensation   Compensation   Compensation   Compensation
     COMPENSATION            G.R.   *   M      Year 1        Years 2-4       Year 5         Year 6         Year 7         Year 8         Year 9         Year 10
                                               2020         2021-2023         2024           2025           2026           2027           2028           2029
Insurance MOP                5%                 4,000.00       4,000.00        4,000.00       4,000.00       4,000.00       4,000.00       4,000.00       4,000.00
Insurance Premium            5%         M       3,212.52       3,212.52        3,212.52       3,212.52       3,212.52       3,498.12       3,607.32       3,716.40
Medicare Part A              5%         M
Medicare Part B Premium      5%         M
Medicare Part B Deductible   5%
Medigap                      5%         M
Medicare Part D              5%         M
PCP                          5%     *
Mileage: PCP                 4%                     0.77            0.77           0.77           0.77           0.77           0.77           0.77              0.77
Neurology                    5%     *
Mileage: Neurology           4%                     9.76            9.76           9.76           9.76           9.76           9.76           9.76              9.76
Dev Pediatrics               5%     *
Mileage: Dev Pediatrics      4%                     4.08            4.08           4.08           4.08           4.08           4.08           4.08              4.08
PM&R                         5%     *
Mileage: PM&R                4%                                                                   4.11           4.11           4.11           4.11              4.11
ER                           5%     *
Hospitalization              5%     *
Serum Studies                5%     *
EEG                          5%     *
Sleep EEG                    5%     *
MRI of Brain                 5%     *
Mileage: Diagnostics         4%                    10.29           10.29          10.29          10.29          10.29          10.29          10.29          10.29
Neuropsych Eval              5%                 2,850.00          950.00         950.00         950.00         950.00         950.00         950.00         950.00
Care Coord                   4%         M       3,780.00        3,780.00       2,520.00       2,520.00       2,520.00       2,520.00       2,520.00       2,520.00
Depakote                     5%     *
Keppra                       5%     *
Clobazam                     5%     *
Epidiolex                    5%     *
Diastat                      5%     *
Clonazepam                   5%     *
Syringes                     4%                    71.64          71.64           71.64          71.64          71.64          71.64          71.64          71.64
Diapers                      4%                   583.09         583.09          583.09         583.09         583.09         583.09         583.09         583.09
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                                                       Appendix A: Items of Compensation for M.S.M.                                                      Page 2 of 14
                                        Lump Sum
       ITEMS OF                        Compensation     Compensation    Compensation     Compensation     Compensation     Compensation     Compensation     Compensation
     COMPENSATION      G.R.   *   M       Year 1          Years 2-4       Year 5           Year 6           Year 7           Year 8           Year 9           Year 10
                                          2020           2021-2023         2024             2025             2026             2027             2028             2029
Wipes                  4%                     74.88             74.88         74.88            74.88            74.88            74.88            74.88             74.88
Seizure Alarm          4%                    719.00             71.90         71.90            71.90            71.90            71.90            71.90             71.90
Seizure Alarm Sensor   4%                                                                     205.00            20.50            20.50            20.50             20.50
Stroller               4%                     989.00           197.80           197.80        197.80           197.80           197.80           197.80           197.80
Shower Chair           4%                      48.99             8.17             8.17           8.17             8.17             8.17             8.17             8.17
Bedrails               4%                     121.27            20.21            20.21         20.21            20.21            20.21            20.21             20.21
Supportive Chair       4%                   3,700.00
OT                     4%     *   M
PT                     4%     *   M
ST                     4%     *   M
Mileage: PT/OT         4%                      81.60            81.60            81.60           81.60            81.60            81.60            81.60            81.60
Mileage: ST            4%                      79.97            79.97            79.97           79.97            79.97            79.97            79.97            79.97
CMT/Attendant Care     4%         M        37,440.00        37,440.00        53,568.00       53,568.00        53,568.00        53,568.00        53,568.00        53,568.00
Group Home             4%         M
Medical Day Program    4%         M
Lost Future Earnings                      931,638.08
Pain and Suffering                        250,000.00
Medicaid Lien                              32,036.18
Annual Totals                           1,271,451.12        50,596.68        65,464.68       65,673.79        65,489.29        65,774.89        65,884.09        65,993.17
                                      Note: Compensation Year 1 consists of the 12 month period following the date of judgment.
                                      Compensation Year 2 consists of the 12 month period commencing on the first anniversary of the date of judgment.
                                      As soon as practicable after entry of judgment, respondent shall make the following payment to the court-appointed guardian(s)/
                                      conservators(s) of the estate of M.S.M. for the benefit of M.S.M., for lost future earnings ($931,638.08),
                                      pain and suffering ($250,000.00), and Yr 1 life care expenses ($57,776.86): $1,239,414.94.
                                      As soon as practicable after entry of judgment, respondent shall make the following payment jointly to
                                      petitioner and Optum Subrogation Service, as reimbursement of a Medicaid lien : $32,036.18.
                                      Annual amounts payable through an annuity for future Compensation Years follow the anniversary of the date of judgment.
                                      Annual amounts shall increase at the rates indicated in column "G.R." above, compounded annually from the date of judgment.
                                      Items denoted with an asterisk (*) covered by health insurance and/or Medicare.
                                      Items denoted with an "M" payable in 12 monthly installments at the discretion of respondent.
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                                                           Appendix A: Items of Compensation for M.S.M.                                          Page 3 of 14


       ITEMS OF                             Compensation   Compensation   Compensation   Compensation   Compensation   Compensation   Compensation   Compensation
     COMPENSATION            G.R.   *   M     Year 11        Year 12        Year 13        Year 14        Year 15        Year 16        Year 17        Year 18
                                               2030           2031           2032           2033           2034           2035           2036           2037
Insurance MOP                5%                 4,000.00       4,000.00       4,000.00       4,000.00       4,000.00       4,000.00       4,000.00       4,000.00
Insurance Premium            5%         M       3,834.00       3,951.60       4,073.40       4,199.40       4,199.40       4,199.40       4,199.40       4,216.20
Medicare Part A              5%         M
Medicare Part B Premium      5%         M
Medicare Part B Deductible   5%
Medigap                      5%         M
Medicare Part D              5%         M
PCP                          5%     *
Mileage: PCP                 4%                     0.77
Neurology                    5%     *
Mileage: Neurology           4%                     9.76          14.52          14.52          14.52          14.52          14.52          14.52          14.52
Dev Pediatrics               5%     *
Mileage: Dev Pediatrics      4%                     4.08
PM&R                         5%     *
Mileage: PM&R                4%                     4.11           4.11           4.11           4.11           4.11           4.11           4.11              4.11
ER                           5%     *
Hospitalization              5%     *
Serum Studies                5%     *
EEG                          5%     *
Sleep EEG                    5%     *
MRI of Brain                 5%     *
Mileage: Diagnostics         4%                    10.29          10.29          10.29          10.29          10.29          10.29          10.29          10.29
Neuropsych Eval              5%                   950.00         950.00         950.00
Care Coord                   4%         M       2,520.00       2,520.00       2,520.00       2,520.00       2,940.00       2,940.00       2,940.00       2,940.00
Depakote                     5%     *
Keppra                       5%     *
Clobazam                     5%     *
Epidiolex                    5%     *
Diastat                      5%     *
Clonazepam                   5%     *
Syringes                     4%                    71.64          71.64          71.64          71.64          71.64          71.64          71.64          71.64
Diapers                      4%                   583.09         583.09         583.09         583.09         583.09         583.09         583.09         583.09
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                                                       Appendix A: Items of Compensation for M.S.M.                                                      Page 4 of 14


       ITEMS OF                       Compensation     Compensation     Compensation     Compensation     Compensation     Compensation    Compensation     Compensation
     COMPENSATION      G.R.   *   M     Year 11          Year 12          Year 13          Year 14          Year 15          Year 16         Year 17          Year 18
                                         2030             2031             2032             2033             2034             2035            2036             2037
Wipes                  4%                    74.88            74.88            74.88            74.88            74.88            74.88           74.88            74.88
Seizure Alarm          4%                    71.90            71.90            71.90            71.90            71.90            71.90           71.90            71.90
Seizure Alarm Sensor   4%                    20.50            20.50            20.50            20.50            20.50            20.50           20.50            20.50
Stroller               4%                  197.80           197.80           197.80           197.80           197.80           197.80          197.80           197.80
Shower Chair           4%                     8.17             8.17             8.17             8.17             8.17             8.17            8.17             8.17
Bedrails               4%                    20.21            20.21            20.21            20.21            20.21            20.21           20.21            20.21
Supportive Chair       4%
OT                     4%     *   M                         2,565.00         2,565.00         2,565.00
PT                     4%     *   M                         2,025.00         2,025.00         2,025.00
ST                     4%     *   M                         2,475.00         2,475.00         2,475.00
Mileage: PT/OT         4%                      81.60           81.60            81.60            81.60            65.82            65.82            65.82               65.82
Mileage: ST            4%                      79.97           79.97            79.97            79.97
CMT/Attendant Care     4%         M        53,568.00       92,736.00        92,736.00        92,736.00       162,240.00       162,240.00      162,240.00       162,240.00
Group Home             4%         M
Medical Day Program    4%         M                                                                           22,750.00        22,750.00        22,750.00       22,750.00
Lost Future Earnings
Pain and Suffering
Medicaid Lien
Annual Totals                              66,110.77      112,461.28       112,583.08       111,759.08       197,272.33       197,272.33      197,272.33       197,289.13
                                      Note: Compensation Year 1 consists of the 12 month period following the date of judgment.
                                      Compensation Year 2 consists of the 12 month period commencing on the first anniversary of the date of judgment.
                                      As soon as practicable after entry of judgment, respondent shall make the following payment to the court-appointed guardian(s)/
                                      conservators(s) of the estate of M.S.M. for the benefit of M.S.M., for lost future earnings ($931,638.08),
                                      pain and suffering ($250,000.00), and Yr 1 life care expenses ($57,776.86): $1,239,414.94.
                                      As soon as practicable after entry of judgment, respondent shall make the following payment jointly to
                                      petitioner and Optum Subrogation Service, as reimbursement of a Medicaid lien : $32,036.18.
                                      Annual amounts payable through an annuity for future Compensation Years follow the anniversary of the date of judgment.
                                      Annual amounts shall increase at the rates indicated in column "G.R." above, compounded annually from the date of judgment.
                                      Items denoted with an asterisk (*) covered by health insurance and/or Medicare.
                                      Items denoted with an "M" payable in 12 monthly installments at the discretion of respondent.
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       ITEMS OF                             Compensation   Compensation   Compensation   Compensation   Compensation   Compensation   Compensation   Compensation
     COMPENSATION            G.R.   *   M     Year 19        Year 20        Year 21        Year 22        Year 23        Year 24        Year 25        Year 26
                                               2038           2039           2040           2041           2042           2043           2044           2045
Insurance MOP                5%                 4,000.00       4,000.00       4,000.00       4,000.00       4,000.00       4,000.00       4,000.00       4,000.00
Insurance Premium            5%         M       4,300.20       4,401.00       4,564.80       4,699.08       4,766.28       4,867.08       4,967.88       5,030.88
Medicare Part A              5%         M
Medicare Part B Premium      5%         M
Medicare Part B Deductible   5%
Medigap                      5%         M
Medicare Part D              5%         M
PCP                          5%     *
Mileage: PCP                 4%
Neurology                    5%     *
Mileage: Neurology           4%                    14.52          14.52          14.52          14.52          14.52          14.52          14.52          14.52
Dev Pediatrics               5%     *
Mileage: Dev Pediatrics      4%
PM&R                         5%     *
Mileage: PM&R                4%                     4.11           4.11           4.11           4.11           4.11           4.11           4.11              4.11
ER                           5%     *
Hospitalization              5%     *
Serum Studies                5%     *
EEG                          5%     *
Sleep EEG                    5%     *
MRI of Brain                 5%     *
Mileage: Diagnostics         4%                    10.29          10.29          10.29          10.29          10.29          10.29          10.29          10.29
Neuropsych Eval              5%
Care Coord                   4%         M       2,940.00       2,940.00       2,940.00       2,940.00       2,940.00       2,940.00       2,940.00       2,940.00
Depakote                     5%     *
Keppra                       5%     *
Clobazam                     5%     *
Epidiolex                    5%     *
Diastat                      5%     *
Clonazepam                   5%     *
Syringes                     4%                    71.64          71.64          71.64          71.64          71.64          71.64          71.64          71.64
Diapers                      4%                   583.09         583.09         583.09         583.09         583.09         583.09         583.09         583.09
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       ITEMS OF                       Compensation     Compensation     Compensation     Compensation     Compensation     Compensation    Compensation     Compensation
     COMPENSATION      G.R.   *   M     Year 19          Year 20          Year 21          Year 22          Year 23          Year 24         Year 25          Year 26
                                         2038             2039             2040             2041             2042             2043            2044             2045
Wipes                  4%                    74.88            74.88            74.88            74.88            74.88            74.88           74.88            74.88
Seizure Alarm          4%                    71.90            71.90            71.90            71.90            71.90            71.90           71.90            71.90
Seizure Alarm Sensor   4%                    20.50            20.50            20.50            20.50            20.50            20.50           20.50            20.50
Stroller               4%                  197.80           197.80           197.80           197.80           197.80           197.80          197.80           197.80
Shower Chair           4%                     8.17             8.17             8.17             8.17             8.17             8.17            8.17             8.17
Bedrails               4%                    20.21            20.21            20.21            20.21            20.21            20.21           20.21            20.21
Supportive Chair       4%
OT                     4%     *   M
PT                     4%     *   M
ST                     4%     *   M
Mileage: PT/OT         4%                      65.82            65.82            65.82           65.82            65.82            65.82            65.82               65.82
Mileage: ST            4%
CMT/Attendant Care     4%         M      162,240.00       162,240.00       162,240.00       162,240.00       162,240.00       162,240.00      162,240.00       162,240.00
Group Home             4%         M
Medical Day Program    4%         M        22,750.00       22,750.00        22,750.00        22,750.00        22,750.00        22,750.00        22,750.00       22,750.00
Lost Future Earnings
Pain and Suffering
Medicaid Lien
Annual Totals                            197,373.13       197,473.93       197,637.73       197,772.01       197,839.21       197,940.01      198,040.81       198,103.81
                                      Note: Compensation Year 1 consists of the 12 month period following the date of judgment.
                                      Compensation Year 2 consists of the 12 month period commencing on the first anniversary of the date of judgment.
                                      As soon as practicable after entry of judgment, respondent shall make the following payment to the court-appointed guardian(s)/
                                      conservators(s) of the estate of M.S.M. for the benefit of M.S.M., for lost future earnings ($931,638.08),
                                      pain and suffering ($250,000.00), and Yr 1 life care expenses ($57,776.86): $1,239,414.94.
                                      As soon as practicable after entry of judgment, respondent shall make the following payment jointly to
                                      petitioner and Optum Subrogation Service, as reimbursement of a Medicaid lien : $32,036.18.
                                      Annual amounts payable through an annuity for future Compensation Years follow the anniversary of the date of judgment.
                                      Annual amounts shall increase at the rates indicated in column "G.R." above, compounded annually from the date of judgment.
                                      Items denoted with an asterisk (*) covered by health insurance and/or Medicare.
                                      Items denoted with an "M" payable in 12 monthly installments at the discretion of respondent.
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       ITEMS OF                             Compensation   Compensation   Compensation   Compensation   Compensation   Compensation   Compensation   Compensation
     COMPENSATION            G.R.   *   M     Year 27        Year 28        Year 29        Year 30        Year 31        Year 32        Year 33        Year 34
                                               2046           2047           2048           2049           2050           2051           2052           2053
Insurance MOP                5%                 4,000.00       4,000.00       4,000.00       4,000.00       4,000.00       4,000.00       4,000.00       4,000.00
Insurance Premium            5%         M       5,098.08       5,131.68       5,165.28       5,198.88       5,232.48       5,299.68       5,366.88       5,467.56
Medicare Part A              5%         M
Medicare Part B Premium      5%         M
Medicare Part B Deductible   5%
Medigap                      5%         M
Medicare Part D              5%         M
PCP                          5%     *
Mileage: PCP                 4%
Neurology                    5%     *
Mileage: Neurology           4%                    14.52          14.52          14.52          14.52          14.52          14.52          14.52          14.52
Dev Pediatrics               5%     *
Mileage: Dev Pediatrics      4%
PM&R                         5%     *
Mileage: PM&R                4%                     4.11           4.11           4.11           4.11           4.11           4.11           4.11              4.11
ER                           5%     *
Hospitalization              5%     *
Serum Studies                5%     *
EEG                          5%     *
Sleep EEG                    5%     *
MRI of Brain                 5%     *
Mileage: Diagnostics         4%                    10.29          10.29          10.29          10.29          10.29          10.29          10.29          10.29
Neuropsych Eval              5%
Care Coord                   4%         M       2,940.00       2,940.00       2,940.00       2,940.00       2,940.00       2,940.00       2,940.00       2,940.00
Depakote                     5%     *
Keppra                       5%     *
Clobazam                     5%     *
Epidiolex                    5%     *
Diastat                      5%     *
Clonazepam                   5%     *
Syringes                     4%                    71.64          71.64          71.64          71.64          71.64          71.64          71.64          71.64
Diapers                      4%                   583.09         583.09         583.09         583.09         583.09         583.09         583.09         583.09
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       ITEMS OF                       Compensation     Compensation     Compensation     Compensation     Compensation     Compensation    Compensation     Compensation
     COMPENSATION      G.R.   *   M     Year 27          Year 28          Year 29          Year 30          Year 31          Year 32         Year 33          Year 34
                                         2046             2047             2048             2049             2050             2051            2052             2053
Wipes                  4%                    74.88            74.88            74.88            74.88            74.88            74.88           74.88            74.88
Seizure Alarm          4%                    71.90            71.90            71.90            71.90            71.90            71.90           71.90            71.90
Seizure Alarm Sensor   4%                    20.50            20.50            20.50            20.50            20.50            20.50           20.50            20.50
Stroller               4%                  197.80           197.80           197.80           197.80           197.80           197.80          197.80           197.80
Shower Chair           4%                     8.17             8.17             8.17             8.17             8.17             8.17            8.17             8.17
Bedrails               4%                    20.21            20.21            20.21            20.21            20.21            20.21           20.21            20.21
Supportive Chair       4%
OT                     4%     *   M
PT                     4%     *   M
ST                     4%     *   M
Mileage: PT/OT         4%                      65.82            65.82            65.82           65.82            65.82            65.82            65.82               65.82
Mileage: ST            4%
CMT/Attendant Care     4%         M      162,240.00       162,240.00       162,240.00       162,240.00       162,240.00       162,240.00      162,240.00
Group Home             4%         M                                                                                                                            151,483.91
Medical Day Program    4%         M        22,750.00       22,750.00        22,750.00        22,750.00        22,750.00        22,750.00        22,750.00       22,750.00
Lost Future Earnings
Pain and Suffering
Medicaid Lien
Annual Totals                            198,171.01       198,204.61       198,238.21       198,271.81       198,305.41       198,372.61      198,439.81       187,784.40
                                      Note: Compensation Year 1 consists of the 12 month period following the date of judgment.
                                      Compensation Year 2 consists of the 12 month period commencing on the first anniversary of the date of judgment.
                                      As soon as practicable after entry of judgment, respondent shall make the following payment to the court-appointed guardian(s)/
                                      conservators(s) of the estate of M.S.M. for the benefit of M.S.M., for lost future earnings ($931,638.08),
                                      pain and suffering ($250,000.00), and Yr 1 life care expenses ($57,776.86): $1,239,414.94.
                                      As soon as practicable after entry of judgment, respondent shall make the following payment jointly to
                                      petitioner and Optum Subrogation Service, as reimbursement of a Medicaid lien : $32,036.18.
                                      Annual amounts payable through an annuity for future Compensation Years follow the anniversary of the date of judgment.
                                      Annual amounts shall increase at the rates indicated in column "G.R." above, compounded annually from the date of judgment.
                                      Items denoted with an asterisk (*) covered by health insurance and/or Medicare.
                                      Items denoted with an "M" payable in 12 monthly installments at the discretion of respondent.
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       ITEMS OF                             Compensation   Compensation   Compensation   Compensation   Compensation   Compensation   Compensation   Compensation
     COMPENSATION            G.R.   *   M     Year 35        Year 36        Year 37        Year 38        Year 39        Year 40        Year 41        Year 42
                                               2054           2055           2056           2057           2058           2059           2060           2061
Insurance MOP                5%                 4,000.00       4,000.00       4,000.00       4,000.00       4,000.00       4,000.00       4,000.00       4,000.00
Insurance Premium            5%         M       5,560.56       5,698.56       5,866.56       6,063.96       6,299.16       6,563.64       6,866.04       7,164.12
Medicare Part A              5%         M
Medicare Part B Premium      5%         M
Medicare Part B Deductible   5%
Medigap                      5%         M
Medicare Part D              5%         M
PCP                          5%     *
Mileage: PCP                 4%
Neurology                    5%     *
Mileage: Neurology           4%                    14.52          14.52          14.52          14.52          14.52          14.52          14.52          14.52
Dev Pediatrics               5%     *
Mileage: Dev Pediatrics      4%
PM&R                         5%     *
Mileage: PM&R                4%                     4.11           4.11           4.11           4.11           4.11           4.11           4.11              4.11
ER                           5%     *
Hospitalization              5%     *
Serum Studies                5%     *
EEG                          5%     *
Sleep EEG                    5%     *
MRI of Brain                 5%     *
Mileage: Diagnostics         4%                    10.29          10.29          10.29          10.29          10.29          10.29          10.29          10.29
Neuropsych Eval              5%
Care Coord                   4%         M       2,940.00       2,940.00       2,940.00       2,940.00       2,940.00       2,940.00       2,940.00       2,940.00
Depakote                     5%     *
Keppra                       5%     *
Clobazam                     5%     *
Epidiolex                    5%     *
Diastat                      5%     *
Clonazepam                   5%     *
Syringes                     4%                    71.64          71.64          71.64          71.64          71.64          71.64          71.64          71.64
Diapers                      4%                   583.09         583.09         583.09         583.09         583.09         583.09         583.09         583.09
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       ITEMS OF                       Compensation     Compensation     Compensation     Compensation     Compensation     Compensation    Compensation     Compensation
     COMPENSATION      G.R.   *   M     Year 35          Year 36          Year 37          Year 38          Year 39          Year 40         Year 41          Year 42
                                         2054             2055             2056             2057             2058             2059            2060             2061
Wipes                  4%                    74.88            74.88            74.88            74.88            74.88            74.88           74.88            74.88
Seizure Alarm          4%                    71.90            71.90            71.90            71.90            71.90            71.90           71.90            71.90
Seizure Alarm Sensor   4%                    20.50            20.50            20.50            20.50            20.50            20.50           20.50            20.50
Stroller               4%                  197.80           197.80           197.80           197.80           197.80           197.80          197.80           197.80
Shower Chair           4%                     8.17             8.17             8.17             8.17             8.17             8.17            8.17             8.17
Bedrails               4%                    20.21            20.21            20.21            20.21            20.21            20.21           20.21            20.21
Supportive Chair       4%
OT                     4%     *   M
PT                     4%     *   M
ST                     4%     *   M
Mileage: PT/OT         4%                      65.82            65.82            65.82           65.82            65.82            65.82            65.82               65.82
Mileage: ST            4%
CMT/Attendant Care     4%         M
Group Home             4%         M      151,483.91       151,483.91       151,483.91       151,483.91       151,483.91       151,483.91      151,483.91       151,483.91
Medical Day Program    4%         M       22,750.00        22,750.00        22,750.00        22,750.00        22,750.00        22,750.00       22,750.00        22,750.00
Lost Future Earnings
Pain and Suffering
Medicaid Lien
Annual Totals                            187,877.40       188,015.40       188,183.40       188,380.80       188,616.00       188,880.48      189,182.88       189,480.96
                                      Note: Compensation Year 1 consists of the 12 month period following the date of judgment.
                                      Compensation Year 2 consists of the 12 month period commencing on the first anniversary of the date of judgment.
                                      As soon as practicable after entry of judgment, respondent shall make the following payment to the court-appointed guardian(s)/
                                      conservators(s) of the estate of M.S.M. for the benefit of M.S.M., for lost future earnings ($931,638.08),
                                      pain and suffering ($250,000.00), and Yr 1 life care expenses ($57,776.86): $1,239,414.94.
                                      As soon as practicable after entry of judgment, respondent shall make the following payment jointly to
                                      petitioner and Optum Subrogation Service, as reimbursement of a Medicaid lien : $32,036.18.
                                      Annual amounts payable through an annuity for future Compensation Years follow the anniversary of the date of judgment.
                                      Annual amounts shall increase at the rates indicated in column "G.R." above, compounded annually from the date of judgment.
                                      Items denoted with an asterisk (*) covered by health insurance and/or Medicare.
                                      Items denoted with an "M" payable in 12 monthly installments at the discretion of respondent.
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       ITEMS OF                             Compensation   Compensation   Compensation   Compensation   Compensation   Compensation   Compensation   Compensation
     COMPENSATION            G.R.   *   M     Year 43        Year 44        Year 45        Year 46        Year 47        Year 48        Year 49        Year 50
                                               2062           2063           2064           2065           2066           2067           2068           2069
Insurance MOP                5%                 4,000.00       4,000.00       4,000.00       4,000.00       4,000.00       4,000.00       4,000.00       4,000.00
Insurance Premium            5%         M       7,500.12       7,831.92       8,197.20       8,566.80       8,965.68       9,364.68       9,797.16      10,233.96
Medicare Part A              5%         M
Medicare Part B Premium      5%         M
Medicare Part B Deductible   5%
Medigap                      5%         M
Medicare Part D              5%         M
PCP                          5%     *
Mileage: PCP                 4%
Neurology                    5%     *
Mileage: Neurology           4%                    14.52          14.52          14.52          14.52          14.52          14.52          14.52          14.52
Dev Pediatrics               5%     *
Mileage: Dev Pediatrics      4%
PM&R                         5%     *
Mileage: PM&R                4%                     4.11           4.11           4.11           4.11           4.11           4.11           4.11              4.11
ER                           5%     *
Hospitalization              5%     *
Serum Studies                5%     *
EEG                          5%     *
Sleep EEG                    5%     *
MRI of Brain                 5%     *
Mileage: Diagnostics         4%                    10.29          10.29          10.29          10.29          10.29          10.29          10.29          10.29
Neuropsych Eval              5%
Care Coord                   4%         M       2,940.00       2,940.00       2,940.00       2,940.00       2,940.00       2,940.00       2,940.00       2,940.00
Depakote                     5%     *
Keppra                       5%     *
Clobazam                     5%     *
Epidiolex                    5%     *
Diastat                      5%     *
Clonazepam                   5%     *
Syringes                     4%                    71.64          71.64          71.64          71.64          71.64          71.64          71.64          71.64
Diapers                      4%                   583.09         583.09         583.09         583.09         583.09         583.09         583.09         583.09
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       ITEMS OF                       Compensation     Compensation     Compensation     Compensation     Compensation     Compensation    Compensation     Compensation
     COMPENSATION      G.R.   *   M     Year 43          Year 44          Year 45          Year 46          Year 47          Year 48         Year 49          Year 50
                                         2062             2063             2064             2065             2066             2067            2068             2069
Wipes                  4%                    74.88            74.88            74.88            74.88            74.88            74.88           74.88            74.88
Seizure Alarm          4%                    71.90            71.90            71.90            71.90            71.90            71.90           71.90            71.90
Seizure Alarm Sensor   4%                    20.50            20.50            20.50            20.50            20.50            20.50           20.50            20.50
Stroller               4%                  197.80           197.80           197.80           197.80           197.80           197.80          197.80           197.80
Shower Chair           4%                     8.17             8.17             8.17             8.17             8.17             8.17            8.17             8.17
Bedrails               4%                    20.21            20.21            20.21            20.21            20.21            20.21           20.21            20.21
Supportive Chair       4%
OT                     4%     *   M
PT                     4%     *   M
ST                     4%     *   M
Mileage: PT/OT         4%                      65.82            65.82            65.82           65.82            65.82            65.82            65.82               65.82
Mileage: ST            4%
CMT/Attendant Care     4%         M
Group Home             4%         M      151,483.91       151,483.91       151,483.91       151,483.91       151,483.91       151,483.91      151,483.91       151,483.91
Medical Day Program    4%         M       22,750.00        22,750.00        22,750.00        22,750.00        22,750.00        22,750.00       22,750.00        22,750.00
Lost Future Earnings
Pain and Suffering
Medicaid Lien
Annual Totals                            189,816.96       190,148.76       190,514.04       190,883.64       191,282.52       191,681.52      192,114.00       192,550.80
                                      Note: Compensation Year 1 consists of the 12 month period following the date of judgment.
                                      Compensation Year 2 consists of the 12 month period commencing on the first anniversary of the date of judgment.
                                      As soon as practicable after entry of judgment, respondent shall make the following payment to the court-appointed guardian(s)/
                                      conservators(s) of the estate of M.S.M. for the benefit of M.S.M., for lost future earnings ($931,638.08),
                                      pain and suffering ($250,000.00), and Yr 1 life care expenses ($57,776.86): $1,239,414.94.
                                      As soon as practicable after entry of judgment, respondent shall make the following payment jointly to
                                      petitioner and Optum Subrogation Service, as reimbursement of a Medicaid lien : $32,036.18.
                                      Annual amounts payable through an annuity for future Compensation Years follow the anniversary of the date of judgment.
                                      Annual amounts shall increase at the rates indicated in column "G.R." above, compounded annually from the date of judgment.
                                      Items denoted with an asterisk (*) covered by health insurance and/or Medicare.
                                      Items denoted with an "M" payable in 12 monthly installments at the discretion of respondent.
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       ITEMS OF                             Compensation   Compensation   Compensation   Compensation   Compensation   Compensation   Compensation   Compensation
     COMPENSATION            G.R.   *   M     Year 51        Year 52        Year 53        Year 54        Year 55        Year 56        Year 57      Years 58-Life
                                               2070           2071           2072           2073           2074           2075           2076         2077-Life
Insurance MOP                5%                 4,000.00       4,000.00       4,000.00       4,000.00       4,000.00       4,000.00       4,000.00
Insurance Premium            5%         M      10,700.04      10,931.04      11,397.12      11,800.32      12,064.92      12,396.60      12,598.20
Medicare Part A              5%         M                                                                                                                5,496.00
Medicare Part B Premium      5%         M                                                                                                                1,735.20
Medicare Part B Deductible   5%                                                                                                                            198.00
Medigap                      5%         M                                                                                                                2,616.00
Medicare Part D              5%         M                                                                                                                5,512.30
PCP                          5%     *
Mileage: PCP                 4%
Neurology                    5%     *
Mileage: Neurology           4%                    14.52          14.52          14.52          14.52          14.52          14.52          14.52          14.52
Dev Pediatrics               5%     *
Mileage: Dev Pediatrics      4%
PM&R                         5%     *
Mileage: PM&R                4%                     4.11           4.11           4.11           4.11           4.11           4.11           4.11              4.11
ER                           5%     *
Hospitalization              5%     *
Serum Studies                5%     *
EEG                          5%     *
Sleep EEG                    5%     *
MRI of Brain                 5%     *
Mileage: Diagnostics         4%                    10.29          10.29          10.29          10.29          10.29          10.29          10.29          10.29
Neuropsych Eval              5%
Care Coord                   4%         M       2,940.00       2,940.00       2,940.00       2,940.00       2,940.00       2,940.00       2,940.00       2,940.00
Depakote                     5%     *
Keppra                       5%     *
Clobazam                     5%     *
Epidiolex                    5%     *
Diastat                      5%     *                                                                                                                      400.00
Clonazepam                   5%     *                                                                                                                       22.00
Syringes                     4%                    71.64          71.64          71.64          71.64          71.64          71.64          71.64          71.64
Diapers                      4%                   583.09         583.09         583.09         583.09         583.09         583.09         583.09         583.09
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                                                       Appendix A: Items of Compensation for M.S.M.                                                     Page 14 of 14


       ITEMS OF                       Compensation     Compensation     Compensation     Compensation     Compensation     Compensation    Compensation     Compensation
     COMPENSATION      G.R.   *   M     Year 51          Year 52          Year 53          Year 54          Year 55          Year 56         Year 57        Years 58-Life
                                         2070             2071             2072             2073             2074             2075            2076           2077-Life
Wipes                  4%                    74.88            74.88            74.88            74.88            74.88            74.88           74.88             74.88
Seizure Alarm          4%                    71.90            71.90            71.90            71.90            71.90            71.90           71.90             71.90
Seizure Alarm Sensor   4%                    20.50            20.50            20.50            20.50            20.50            20.50           20.50             20.50
Stroller               4%                  197.80           197.80           197.80           197.80           197.80           197.80          197.80             197.80
Shower Chair           4%                     8.17             8.17             8.17             8.17             8.17             8.17            8.17              8.17
Bedrails               4%                    20.21            20.21            20.21            20.21            20.21            20.21           20.21             20.21
Supportive Chair       4%
OT                     4%     *   M
PT                     4%     *   M
ST                     4%     *   M
Mileage: PT/OT         4%                      65.82            65.82            65.82           65.82            65.82            65.82            65.82               65.82
Mileage: ST            4%
CMT/Attendant Care     4%         M
Group Home             4%         M      151,483.91       151,483.91       151,483.91       151,483.91       151,483.91       151,483.91      151,483.91       151,483.91
Medical Day Program    4%         M       22,750.00        22,750.00        22,750.00        22,750.00        22,750.00        22,750.00       22,750.00        22,750.00
Lost Future Earnings
Pain and Suffering
Medicaid Lien
Annual Totals                            193,016.88       193,247.88       193,713.96       194,117.16       194,381.76       194,713.44      194,915.04       194,296.34
                                      Note: Compensation Year 1 consists of the 12 month period following the date of judgment.
                                      Compensation Year 2 consists of the 12 month period commencing on the first anniversary of the date of judgment.
                                      As soon as practicable after entry of judgment, respondent shall make the following payment to the court-appointed guardian(s)/
                                      conservators(s) of the estate of M.S.M. for the benefit of M.S.M., for lost future earnings ($931,638.08),
                                      pain and suffering ($250,000.00), and Yr 1 life care expenses ($57,776.86): $1,239,414.94.
                                      As soon as practicable after entry of judgment, respondent shall make the following payment jointly to
                                      petitioner and Optum Subrogation Service, as reimbursement of a Medicaid lien : $32,036.18.
                                      Annual amounts payable through an annuity for future Compensation Years follow the anniversary of the date of judgment.
                                      Annual amounts shall increase at the rates indicated in column "G.R." above, compounded annually from the date of judgment.
                                      Items denoted with an asterisk (*) covered by health insurance and/or Medicare.
                                      Items denoted with an "M" payable in 12 monthly installments at the discretion of respondent.
